                                                                                                                                                          ~h M> .
                       Case 1:10-mi-00210-UNA Document 1 Filed 12/22/10 Page 1 of 5                                                       '

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%                 /




                                        UNITED STATES DISTRICT COURT
                        FOR THE                                        DISTRICT                          OF         NEW Wk S ari r                       ~OW9 ~:aern


              KENNETH                   GROSS               d/b/a              CERTIFICATION                                 OF        GMENT
                   GP SALES CORP .                                                           FOR REGISTRATION IN
                          V.                                                                 AN OTHER DI STRICT
            BEST PLASTICS, LLC, et al


                                                                                              Case Number :                10-1028(DRD)

                                                                                                            0

I,        WILLIAM                      T . WALSH Clerk of the United States district court certify that the

attached judgment is a true and correct copy of the original judgment entered in this action                                         1 2/ 1 8/2010 , as it
                                                                                                                                           date
appears in the records of this court, and that

* no notice of appeal from this judgment has been filed, and no motion of My kind in Rule 4(a) of the Federal Rules

    of Appellate Procedure had been filed ."




           IN TESTIMONY WHEREOF, I sign my name and affix the seal of this Court .




                               D ec . 21, 20 1 0                                             WILLIAM T. WALSH
                                         Date                                                Clerk




                                                                                             (By) eputy Cl erk




*Insert the appropriate language : . . ."no notice of app eal from this j udgment has been filed, and no motion of any kind liste d in Rule 4(a) of the Federal
Rules of Appel l ate Procedure has been filed ." . . ."no notice of appea l from this judgment has been filed, and any motions of the kinds l i sted in R ul e 4(a)
of the Federa] Rules of Appella te Procedure (t) have been disposed of, the l atest order d i spos i ng of such a motion having b een entered on [da te] ." . . ."an
appeal was taken from this judgment and the judgment was affi rmed by man d ate of the Court of Appea l s i ssued on [date ] . . . . . . an appeal was taken from
this j u dgm ent and the app eal was di smissed by order e nter ed on [date] ."

( tNote: The motions listed in Rule 4(a), Fed . R . App . P ., are motions : for judgment notwithstanding the ve rdi ct ; to amend or make additional findings
of fact ; to alter or amend thejudgment ; for a new trial ; and fo r an extension of time for filing a notice of appea l -}
             Case 1:10-mi-00210-UNA Document 1 Filed 12/22/10 Page 2 of 5
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Bcc :
--Case Participants : LINDA KAREN MANDELL GATES (lgates@platzerlaw .com), MICHAEL N .
MOREA (mmorea@coleschotz .com), LOUIS J . SEMINSKI (lhaak@wilentz .com,
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 (jgearan@burnslev .com), THOMAS T . REITH {treith@burnslev .com}, Judge Dickinson R .
Debevoise (njdnef debevoise@njc3 .uscourts .gov), Magistrate Judge Michael A . Shipp
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Motion to Cont i nue
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                                      District of New Jersey [L IVE]

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Case Name : GROSS v . BEST PLASTICS, LLC
Case Number :        2: I O-cv-01028-DRD -MAS
Filer :
Document Number : 59

Docket Text :
ORDER denying [44] Motion to Continue ; granting in part and denying in part [22]
Motion fo r Summary Judgment ; judgment in the sum of $5,764,939 .61 in favor of pitf.
and against deft . ; granti ng pltfs motion to di smiss deft's counte ciaims; granting deft.
third party deft . Dion's [28] Motion to Dismiss. Signed by Judge Di ckinson R. Debevoise
on 121 1 712010 .( nr,)


2 :10-c v-01028 -DRD -MAS Notice has been electronicall y mailed to :

JENNY R. YAMPOLSKY jyampolsky@coleschotz .com

LINDA KAREN MANDELL GATES lgates@platzerlaw .com

LOUIS J. SEMINSKI          lseminski@wilentz .cotn, lhaak@wilentz .corn

MICHAEL N . MOREA           mmorea@coleschotzm
                                           com



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             Case 1:10-mi-00210-UNA Document 1 Filed 12/22/10 Page 3 of 5
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2 :1Q-cv-01028-DRD -MAS Notice will not be electronically mailed to : :

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Document de scription :Main Document
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[STAMP dcecfStamp ID=1046708974 [Date= 12/18/2010] [FileNumbei--4686282-
0] [2d1514cbOf804746dbeba7a2834e90d8eb09a3eflfa83c7493b7a2e532e953d56c
acc4633784e32ba87603b80ca30fcd3e055d7647ed63b44ce49597c687cfaa]I




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        Case 1:10-mi-00210-UNA Document 1 Filed 12/22/10 Page 4 of 5

Case 2 :10-cv-01028-DRD -MAS Document 59 Filed 12/17/10                    Page 1 of 2 PagelD : 1879




                             UN ITED ST AT ES DI S TRICT C O U RT
                            FOR TH E DI ST RICT OF NEW JE RSEY




  KENN ETH GROSS d/b/ a GP SALES
  CORP .,

                                 Plaintiff,                     Civ . No . 10- 1 02 8 (DRD)

                                                                                         n2
  V.                                                                   ORDER



  BEST PLAS TICS, LLC,

                                 Defendant .



         This matter having come before the Court on a motion submitted by Plaintiff, Kenneth

 Gross, requesting (1) summary judgment pursuant to Federal Rule of Civil Procedure 56(a) on

 his claims against Defendant Best Plastics, LLC ("Best Plastics") ; and Plaintiff's Motion having

 also requested that Defendant's affirmative defenses be stricken pursuant to Federal Rule of

 Civil Procedure 12(f) and that Defendant's counterclaims be dismissed pursuant to Federal Rule

 of Civil Procedure 12(b)(6) ; and Third-Party Defendant James Dion having submitted a separate

 motion requesting that the claims asserted against him by Defendant be dismissed pursuant to

 Federal Rule of Civil Procedure 12(b)(6) ; and Defendant having moved for a continuance under

  Federal Rule of Civil Procedure 56(d) ;

         IT IS on this 17th of December, 2014, hereby ORDERED as follows :

         (1) Plaintiff's Motion for Summary Judgment is GRANTED in part and DENIED in part.

             Judgment against Defendant in favor of Plaintiff is entered in the amount of

             $5,764,939 .61 . Plaintiffs may proceed with their claims based on any debt incurred

             by Defendant in excess of that sum, but in light of the material disputes of fact that
              Case 1:10-mi-00210-UNA Document 1 Filed 12/22/10 Page 5 of 5

  Case 2 :1 Q-cv-07028-DRD -MAS Document 59 Filed 12/17/10                       Page 2 of 2 Page] D: 1880




                  remain as to the exact amount of that debt, summary judgment on those claims is not

                  appropriate at this stage of the proceedings ;

              (2) Plaintiffs Motion to Dismiss Defendant's counterclaims is GRANTED . Defendant's

                  counterclaims are DISMISSED with prejudice to the extent that they rely on activity

                  that occurred prior to September 17, 2009, and are DISMISSED without prejudice to

                  the extent that they rely on activity that occurred after that date . Defendant may

                  amend and resubmit its counterclaims within 30 days of this ruling, but in doing so

                  must limit its allegations to activity that took place after September 17, 2009 ;

              (3) Third-Party Defendant Dion's Motion to Dismiss the claims asserted against him by

                   Defendant is GRANTED, and Defendant's third-party claims against Mr . Dion are

                   DISMISSED without prejudice . Defendant may submit an Amended Third-Party

                   Complaint curing, if it is able to do so, the deficiencies in those claims within 30 days

                   of the date of this ruling ;

              (4) Defendant's Motion for a Continuance is DENIED .




                                                      s/ Dickinson R. Debevoise
                                                      DICK INSON R. DE B EVO ISE, U .S .S . D .J_




  HERE.BY CERTIFY that the above and
foregoing is a true and correct copy of
the original on file in my office .
    ATTEST
    WILLIA M T . WALSH , Clerk
    United State s District Court
    District of New Jersey
                                >.
sy:
      ~Dsptjty Clark
